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                       Toshiba Exhibit L
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Direct Dial + (202) 626-3696   alau@whitecase.com


September 16, 2014

VIA E-MAIL TO: jay.weil@fedarb.com

The Honorable Vaughn Walker (Ret.)
c/o Mr. Jay Weil
Federal Arbitration, Inc.
228 Hamilton Avenue, 3rd Floor
Palo Alto, CA 94301

Re:      In re Cathode Ray Tube (CRT) Antitrust Litigation, Case No. 07-5944 SC,
         MDL No. 1917 (N.D. Cal.): The Toshiba Defendants’ Response To Plaintiffs’ Motion
         To Compel Depositions

Dear Judge Walker:
        On behalf of the Toshiba Defendants, we write in response to the Plaintiffs’ Motion To
Compel Depositions. The Plaintiffs’ Motion should be denied as premature. The parties are not
at an impasse with respect to the scheduling issues discussed by the Plaintiffs. Rather, the parties
are engaged in a back-and-forth discussion of appropriate deposition dates.
       The Plaintiffs’ motion concerns five individuals. Three of these individuals (Clayton
Bond, Tomoyuki Kawano, and Tomohito Amano) are former Toshiba employees. Two of these
individuals (John Milliken and Charles Farmer) are current Toshiba employees.
        The Toshiba Defendants have offered deposition dates for three of these individuals —
Messrs. Milliken, Kawano, and Bond. Last week, the Plaintiffs rejected the proposed deposition
dates for Messrs. Kawano and Milliken by stating that, “for a variety of reasons the dates you
have offered are not convenient for Plaintiffs.” Toshiba Attachment (“Toshiba Att.”) 1. We
responded by asking the Plaintiffs to explain what this means. Toshiba Att. 2. In response, the
Plaintiffs explained that the proposed dates for Messrs. Milliken and Kawano overlap with
Jewish holidays. Toshiba Att. 3. As to Mr. Bond, the Plaintiffs have explained that they are
considering our proposed date (i.e., October 16, 2014). Toshiba Att. 3. We are now offering
new, alternative dates in order to accommodate the Plaintiffs. Today, we informed the Plaintiffs
that Mr. Kawano is available for a deposition in San Francisco on October 27 – 29, 2014.
Toshiba Att. 4. We also informed the Plaintiffs today that Mr. Milliken is available for
deposition on October 23, 2014, subject to final confirmation. Id.
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The Honorable Vaughn Walker (Ret.)




              In our Amended Initial Disclosures, we identified Mr. Amano as someone who may have
      information that the Toshiba Defendants may use to support their claims or defenses. Upon
      further review, we have concluded otherwise. Thus, a deposition of Mr. Amano is now
      unnecessary. Toshiba Att. 2.
              Mr. Farmer has been on extensive travel and, as a result, we have had difficulties
      coordinating with him. We expect we will be able to provide the Plaintiffs with a proposed date
      in the near future.
              By their motion, the Plaintiffs complain about the Toshiba Defendants’ purported
      “inaction” in responding to their request for the deposition dates. Pl. Motion at 3. We disagree
      with this characterization. The Toshiba Defendants have been responsive to the Plaintiffs’
      request for deposition dates. It should come as no surprise that it took additional time to secure
      dates for those individuals who are no longer employed by any Toshiba entity. In any event, the
      Plaintiffs’ August 1, 2014 request for deposition dates occurred during an exceptionally busy
      discovery month, during which scores of depositions occurred. Also, the Plaintiffs ignore the
      steps that the Toshiba Defendants have taken to accommodate the Plaintiffs’ desire to take an
      additional Rule 30(b)(6) deposition, which is currently scheduled for September 24, 2014.
              Relying upon Your Honor’s earlier report and recommendation concerning certain former
      Toshiba employees and JDI, the Plaintiffs suggest that the Toshiba Defendants have engaged in a
      “cat and mouse” game with respect to their witnesses. Pl. Motion at 3. The comparison that the
      Plaintiffs attempt to make is strained. In contrast to the JDI issue (where the Toshiba Defendants
      argued that they could not disclose the location of their former employees due to foreign privacy
      laws), the Toshiba Defendants in this instance are making their knowledgeable current and
      former employees available for deposition.
              For our part, we also have discovery issues concerning the Plaintiffs. In contrast to the
      Plaintiffs, however, we do not file cavalier motions to compel. Rather, we work patiently with
      the Plaintiffs and attempt to resolve our differences, filing a motion to compel only when it is
      apparent that an impasse has been reached.
             Finally, it should be noted that the Plaintiffs will suffer no prejudice by the timing of
      these depositions. We have indicated to the Plaintiffs that we will not object to the fact that the
      depositions of the individuals they seek will occur after the formal close of fact discovery.
      Several other depositions are also scheduled to occur after the close of fact discovery — these
      depositions have been requested by both plaintiffs and defendants.
             For these reasons, Your Honor should issue a report that recommends that the Plaintiffs’
      motion to compel be denied as premature.
      Respectfully submitted,



       Lucius B. Lau
       cc: All counsel of record

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ATTACHMENT 1
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ATTACHMENT 2
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                                                                               September 11, 2014
VIA E-MAIL TO: dbirkhaeuser@bramsonplutzik.com

Daniel E. Birkhaeuser, Esq.
Bramson, Plutzik, Mahler & Birkhaeuser, LLP
2125 Oak Grove Road, Suite 120
Walnut Creek, CA 94598

Re:      In re Cathode Ray Tube (CRT) Antitrust Litigation, Case No. 07-5944 SC,
         MDL No. 1917 (N.D. Cal.): Response To Letter Of September 10, 2014

Dear Mr. Birkhaeuser:
       I have received your letter of September 10, 2014, in which you reject our proposed
deposition dates for Messrs. Milliken and Kawano. The dates we proposed for those individuals
(September 25, 2014 for Mr. Milliken and October 1 – 3, 2014 for Mr. Kawano) were difficult to
obtain. Mr. Milliken is close to retirement and Mr. Kawano is no longer employed by any
Toshiba entity. Thus, there is no guarantee that either individual will continue to cooperate with
us by offering additional deposition dates.
       In your letter, you state that the dates we have offered are “not convenient for Plaintiffs.”
Please clarify what this means. We want to understand your position in order for us to consider
our options. One of those options involves seeking the assistance of Special Master Walker.
       As a compromise, we are willing to make Mr. Kawano available for deposition in San
Francisco (as opposed to Washington, D.C.) during October 1 – 3, 2014. We hope that a San
Francisco-based deposition will be sufficiently convenient for you.
        Separately, I would like to inform you that Clayton Bond, another individual sought to be
deposed by the plaintiffs, is available for deposition in the Chicago, Illinois area on October 16,
2014. We will provide a location for that deposition. Mr. Bond is not currently employed by
any of the Toshiba Defendants. We do not anticipate that he will invoke his Fifth Amendment
rights. His primary language is English and, as a result, he will not need the assistance of an
interpreter.
        Another individual for whom you have requested a deposition is Tomohito Amano. We
identified him in our Amended Initial Disclosures as someone who may have information that
the Toshiba Defendants may use to support their claims or defenses. Upon further review, we
have concluded otherwise. Thus, we will not make Mr. Amano available for deposition.
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Daniel E. Birkhaeuser, Esq.




               As to Messrs. Milliken and Kawano, I hope you appreciate the fact that this is a time
       sensitive issue. The date we have proposed for Mr. Milliken is two weeks away. The dates we
       have proposed for Mr. Kawano are less than three weeks away. We need to resolve this issue
       quickly in order to secure the necessary logistics for these depositions, particularly an interpreter
       for Mr. Kawano.
               Finally, I am mindful of your outstanding motion to compel depositions, which
       specifically includes Messrs. Milliken and Kawano. I trust that you will be mindful of that
       motion as well in responding to this letter. Please provide a response no later than Monday,
       September 15, 2014.
       Sincerely,




       Lucius B. Lau


       cc:    Phil Iovieno, Esq.
              Lauren Capurro, Esq.
              Emilio Varanini, Esq.




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ATTACHMENT 3
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ATTACHMENT 4
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September 16, 2014


VIA E-MAIL TO: dbirkhaeuser@bramsonplutzik.com

Daniel E. Birkhaeuser, Esq.
Bramson, Plutzik, Mahler & Birkhaeuser, LLP
2125 Oak Grove Road, Suite 120
Walnut Creek, CA 94598

Re:      In re Cathode Ray Tube (CRT) Antitrust Litigation, Case No. 07-5944 SC,
         MDL No. 1917 (N.D. Cal.): Response To Letter Of September 12, 2014

Dear Mr. Birkhaeuser:
        I am in receipt of your letter of September 12, 2014. Thank you for reminding us of the
Jewish holidays. We are willing to reschedule the depositions of Messrs. Kawano and Milliken.
We have contacted Mr. Kawano and attempted to reschedule his deposition for the period you
requested. Mr. Kawano, who is not employed by a Toshiba entity, has informed us that he is not
available then. He is available for a deposition in San Francisco from October 27 – 29, 2014.
We expect that Mr. Milliken will be available on October 23, 2014 (but this date is subject to
final confirmation). We are aware that these dates reverse the sequence of the depositions as
proposed in your letter, but Mr. Kawano’s schedule did not permit that sequencing. Please let us
know whether these dates are acceptable to the Plaintiffs.
Sincerely,




Lucius B. Lau
cc:      Phil Iovieno, Esq.
         Lauren Capurro, Esq.
         Emilio Varanini, Esq.
